Case 1l-Lo-40009-nhAl Doc44 Filed O4/l4ilf/ centered O2/i4/i/ LO'40%50

UNITES STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

CHAPTER 13
. Chapter 13 Repayment Plan
IN RES AMENDED

Nelson Camacho Case no 15-45369 nhl

Debtor

 

1. The future earnings of the debtor is submitted to the supervision of the trustee,
and the debtor and non debtor spouse shall pay to the trustee for period of 60
months the sum of:

A) 194.00 commencing December 27" 2015 through January 27" 2017
Thereafter the sum of $270 commencing February 2017 through November 27%
2020.

B) In addition to the monthly plan payments during the pendency of this case
the debtors will provide the trustee with signed copies of all filed federal and
State tax returns for each year no later than April 15". Of the year following the
tax period, commencing with 2015. Indicated Tax refunds are to be paid to the
trustee upon receipt However no later than June 15t of the year in which tax
returns are filed.

2. From The payments received the Trustee shall make disbursements as
follows:

a) Full payment in deferred cash payments of all claims entitled to priority under
11U.S.C. sect 507 Michael L. Previto to be paid 800.00 over the course of the
Plan and to be paid 3400.00 the Internal Revenue Service

b) Holders of secured claims shall retain all liens securing such claims and shall
be paid as follows:

1) All Post Petition Payments to be paid outside the plan to

The First Mortgage held by The Ocwen Loan Servicing

2) A Judgement Lien/ possible secured lien held by Citibank to be avoided
Pursuant to 11 U.S.C. sections 902,506(2) 506 (D) 1322(b) 1325(a) and 1328(f)
On the Debtor’s property located at 165b Ainsworth Avenue ,Staten Island, New
York 10308 of a home equity loan and Civil as debtor is eligible to receive a
because the amount herein exceeds the combined amount of the first
mortgage and the applicable exemptions in this case. Said Application t be

made to the court prior to the confirmation of this proposed plan.

3) All unsecured creditors filing claims to be paid at 100 percent in monthly
installments over the course of the plan.

 
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3. The following Executory Contracts of the Debtors are assumed as follows :

There are no Leases or Executory contracts to be assumed or reaffirmed.

4. Title to the Debtors Property to remain with the debtor upon completion of the Plan
sunless otherwise provided in the order confirming the plan.

5. Throughout the term of the Plan, the debtors agree that the Debtors will not incur post
petition debt over 2,000.00 without notifying the trustee in writing.

Dated: oh ad / /7
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Nelson Camacho

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Michael L. Previto Esq.
Attorney for the Debtor
